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                              Exhibit A

               Summary Chart of Confirmation Objections




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Docket No.   Objecting Party                   Summary of Objection                                               NBK’s Response
  401          2425 WL         1.   The Exculpation 1 provisions at Article IX(C) of the       1.   NBK has modified the Plan’s exculpation provision to
                                    Plan violate Fifth Circuit law. See ¶ 9(a).                     address informal comments from the United States
                                                                                                    Trustee and those modifications address this objection.

                               2.   The Plan violates section 1122 by classifying              2.   The Plan complies with section 1122. Although
                                    dissimilar claims in a single class. Specifically, Class        Class 6 Insider Claims include unsecured claims, those
                                    6 contains claims of insiders. This class includes the          claims have been asserted by the Debtor’s insiders. See
                                    claim of 2425 WL, which is a secured claim and the              11 U.S.C. § 101(31) (defining insider, which includes
                                    claims of Ali Choudhri, Jetall Companies, Inc. and              an “affiliate” of the Debtor). Insider Claims are
                                    Jetall Capital, LLC, which are unsecured claims. See            separately classified because insider votes are not
                                    ¶ 9(b).                                                         counted in determining whether an impaired class of
                                                                                                    claims has accepted the Plan. See 11 U.S.C. §
                                                                                                    1129(a)(10) (requiring at least one impaired class to
                                                                                                    vote to accept the plan without regard to any insider
                                                                                                    vote). Further, while the value of the Property will be
                                                                                                    determined by the auction, 2425 WL’s claim against
                                                                                                    the estate, if allowed (and NBK notes that the Chapter
                                                                                                    11 Trustee has objected to the claim) is junior to NBK’s
                                                                                                    loan claim and is therefore unsecured.

                               3.   Article IX(E) of the Plan contains broad injunctive        3.   The Plan contains injunctive language, but the gate
                                    language. As drafted, the gatekeeping provision means           keeper provision does not bar third parties from
                                    that no party holding a claim in this case can ever sue         bringing their claims against NBK. Instead, the Court
                                    NBK for any claim that arose before or during the case          will (i) determine whether any party seeking to bring a
                                    without permission from this Court. See ¶ 9(e).                 claim against a released party had a “colorable claim”
                                                                                                    that is not an estate claim, (ii) authorize the party to
                                    In addition, the Plan includes third-party release and          bring the claim and (iii) adjudicate the claim if the
                                    exculpation provisions applicable to non-debtor                 bankruptcy court had jurisdiction over the merit.
                                    parties with no opt-out or similar provisions.                  Importantly, NBK only receives a release from a Claim
                                                                                                    or Action if it belongs to and is released under the Plan
                                                                                                    by the Estate (so-called “derivative claims”). In other
                                                                                                    words, no non-debtor party is releasing its direct and
                                                                                                    independent claims, if any, against NBK.

                                                                                                    The gate keeper provision is consistent with Fifth
                                                                                                    Circuit law. See In re Highland Cap. Mgmt., L.P., 48
                                                                                                    F.4th 419, 439 (5th Cir. 2022) (“Courts have long
                                                                                                    recognized bankruptcy courts can perform a
                                                                                                    gatekeeping function” and “[w]e affirm the inclusion of
                                                                                                    the injunction and the gatekeeper provisions in the
                                                                                                    Plan.”).

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     Docket No.       Objecting Party                       Summary of Objection                                                NBK’s Response

                                             4.   The Plan fails to provide “adequate means for the          4.   The Plan provides for adequate means of
                                                  plan’s implementation. See ¶ 10.                                implementation. In particular, it provides for the sale of
                                                                                                                  the Property under an auction that will be conducted by
                                                                                                                  the Chapter 11 Trustee and provides that the sale
                                                                                                                  proceeds will be used to fund payment of claims under
                                                                                                                  the Plan if NBK is not the Successful Bidder, including
                                                                                                                  NBK’s claim for tax liens Mr. Choudhri assigned to
                                                                                                                  NBK.
                                                                                                                  If NBK is the Successful Bidder, NBK will contribute
                                                                                                                  cash to the estate to: (i) pay secured and priority claims
                                                                                                                  in full; (ii) fund the Liquidation Trust created under the
                                                                                                                  Plan; and (iii) pay trade creditors 70% of their allowed
                                                                                                                  claims, as provided for under the Plan.

                                                                                                                  If confirmed, the Plan also will provide NBK with
                                                                                                                  broad releases from the claims which have been
                                                                                                                  asserted by or on behalf of the estate.

                                             5.   The Plan has not been proposed in good faith because       5.   The Plan has been proposed in good faith for the
                                                  plan and the sales process it encompasses have been             reasons explained in section I.F of the argument section
                                                  proposed for the purpose of allowing NBK to acquire             of this Memorandum. In addition, it is unknown
                                                  the Debtor’s real property by means of a credit bid             whether NBK will be the Purchaser. As described by
                                                  without any meaningful opportunity for third party              the Chapter 11 Trustee’s June 10 status report, at least
                                                  bidding. See ¶ 10.                                              twenty-four (24) parties have signed non-disclosure
                                                                                                                  agreements to receive information, and at least eight (8)
                                                                                                                  parties have conducted on-site inspections. And even
                                                                                                                  if NBK is the Purchaser, it would be a result of a court-
                                                                                                                  supervised auction of sale of the Property or the Court’s
                                                                                                                  determination that NBK’s $18,600,000 non-cash credit
                                                                                                                  bid is a qualified bid if there no competing qualified
                                                                                                                  bids. See ECF No. 254.

                                             6.   The Plan does not comply with section 1123(a)(5)           6.   The Chapter 11 Trustee will serve as the Liquidation
                                                  because it does not disclose the identity of the                Trustee.
                                                  Liquidation Trustee. See ¶ 11.



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    Capitalized terms used but not defined herein have the meanings ascribed to them in the Plan or Disclosure Statement and the Memorandum, as applicable
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Docket No.   Objecting Party                   Summary of Objection                                                NBK’s Response
                               7.   The Plan does not satisfy section 1129(a)(8) because        7.   The Plan satisfies the cram down requirements even
                                    Classes 3, 6, 7 and 8 are deemed to reject. See ¶ 12.            though it does not comply with section 1129(a)(8).
                                                                                                     Because NBK is the plan proponent, it is presumed that
                                                                                                     the cram down requirements have been satisfied with
                                                                                                     respect to NBK’s Claim in Class 3.

                                                                                                     NBK is not aware of any Subordinated Claims in Class
                                                                                                     7. Therefore, cram down is not issue for such claims.

                               8.   The Plan unfairly discriminates against Class 6 insider     8.   With respect to Holders of Claims and Interests in
                                    claims (which include unsecured claims) because they             Class 6 (Insider Claims), their treatment under the Plan
                                    will not receive a distribution in contrast to Holders of        is proper. Class 6 includes parties that arguably hold
                                    similar unsecured claims in Class 5(a) and Class 5(b).           general unsecured claims, which are likely ‘out of the
                                    See ¶ 14.                                                        money’ and not entitled to receive any distribution. In
                                                                                                     addition, NBK notes that the Chapter 11 Trustee has
                                                                                                     objected to and sought disallowance of those claims
                                                                                                     because they lack any factual or legal basis. See ECF
                                                                                                     No. 403. In addition, it is appropriate to separately
                                                                                                     classify the Insider Claims as the votes of insiders are
                                                                                                     not considered under section 1129(a)(10).

                                                                                                     With respect to the Holders of Interests in Class 8
                                                                                                     (Interests) it does not unfairly discriminate against
                                                                                                     equity interest holders to classify them separately from
                                                                                                     the holders of creditor claims because of their different
                                                                                                     legal nature and the different facts that give rise to the
                                                                                                     claims of interest holders and creditors.

                               9.    The Plan is not fair and equitable because it seeks to
                                    release “valuable assets of the estate” that “consists of   9.   NBK and the Chapter 11 Trustee have agreed to settle
                                    claims against NBK. See ¶ 15.                                    any and all potential issues relating to NBK and the Plan
                                                                                                     includes a release of the Estate’s Claims, Interests and
                                                                                                     Causes of Action against NBK.




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Docket No.   Objecting Party                   Summary of Objection                                           NBK’s Response
  409           Debtor          1.   The Debtor’s specific objections to the Plan are      1.   See NBK’s responses to 2425 WL’s objection.
                                     identical to 2425 WL’s objection. See ECF No. 409
                                     at 12-17.




  454        CC2 TX, LLC        1.   The Plan fails to provide for contractual interest    1.   The Confirmation Order is revised to provide for the
                                     accruing from the Petition Date through the date of        payment of post-petition statutory interest on tax lien
                                     payment on CC2’s senior tax lien claim.                    claims through the date of payment




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